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                       EXHIBIT K
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                                                                              Page 1
                          IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLORADO


             SILVANA PAJOR-FLORES,                  *
                      Plaintiff,                    *
                                                    *
             VS.                                    *        Civil Action No.
                                                    *        16-cv-1992-CMA-KMT
             AMERICAN INCOME INSURANCE              *
             COMPANY AND XAVIER, INC.               *
                      Defendants.                   *




             ********************************************************

                              ORAL DEPOSITION OF PENNY REESE

             ********************************************************




                    ANSWERS AND DEPOSITION OF PENNY REESE, produced as

             a witness at the instance of the Plaintiff, taken in the

             above-styled and numbered cause on the 21st day of

             April, 2017, A.D., beginning at 11:25 a.m., before

             Rachel J. Payne, a Certified Shorthand Reporter in and

             for the State of Texas, in the offices of American

             Income Life, located at 1200 Wooded Acres Drive, Waco,

             Texas, in accordance with the Rules of Civil Procedure

             and the agreement hereinafter set forth.


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                                                                               Page 12
        1    Incorporated?

        2           A.   Not until I looked at the complaint.

        3           Q.   Okay.      One moment.      All right.      Are you

        4    familiar with producing agent all the way to the top and

        5    the promotions that they can have throughout their

        6    career with American Income Life?

        7           A.   I'm aware of the different contracts that we

        8    have available.

        9           Q.   What type of contracts does American Income

       10    Life have available?

       11           A.   Agent contract, supervising agent, general

       12    agent, regional general agent, state general agent.

       13           Q.   Can there be more than one state general agent

       14    in a territory?

       15           A.   Do you mean within a state?

       16           Q.   Correct.

       17           A.   There can be.

       18           Q.   Has there been in the last 20 years?

       19           A.   I don't know.         If you're asking as it relates

       20    to Colorado, I don't remember if there was multiple.

       21    Other states do have multiple state general agents.

       22           Q.   Can you define territory for American Income

       23    Life?

       24           A.   Well, the agent has to be licensed where

       25    they're selling.


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        1    mean, if you were asking for specifics by policy, then,

        2    you know, you'd have -- you'd have to have like the

        3    commission schedule that showed what different policies

        4    get what.

        5           Q.   Okay.

        6           A.   Commissions on A&H are less than life.           As I

        7    indicated, first year commissions are usually higher

        8    than any subsequent year.             They're usually drastically

        9    reduced after the first year.

       10           Q.   So Silvana Pajor-Flores is a plaintiff in this

       11    matter and she's been requesting copy of her

       12    commissions, payments or anything that she can base any

       13    calculations on.

       14                         MR. DAWSON:      They have been produced per

       15    your request, all AMP and ledger.

       16           Q.   (BY MS. RUSKIEWICZ)           Are you familiar with

       17    American Income Life E-App?

       18           A.   Yeah.      I'm familiar -- I haven't done E-App and

       19    I haven't seen most of it, but, yes, that is how we

       20    receive commission -- that's how we receive

       21    applications.

       22           Q.   Okay.      The E-App, what type of -- for example,

       23    what type of stuff is on the E-App if an agent logs on,

       24    what can they see?

       25           A.   Well, it's for the completion of applications


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        1    and applications have to be approved by the state as to

        2    what you can ask and all that, and so it is the software

        3    that contains those applications.

        4           Q.   Is it approved by the agent state on where

        5    they're selling or by the state that offers the E-App?

        6           A.   I --

        7           Q.   So for example --

        8           A.   The E-Application is just an electronic

        9    software that we created that has the applications that

       10    the states approved.

       11           Q.   Okay.      And when the agent logs in, is this

       12    where the leads can be found or how does American Income

       13    Life get leads?

       14           A.   Well, I've told you how the company gets leads.

       15    Those leads are sold to the state general agent, and

       16    then the state general agent does with them what he

       17    wants to, gives them to agents or whatever.

       18           Q.   Do you sell the same leads to two state general

       19    agents?

       20           A.   No.      They send a -- they send the link to one

       21    state general agent.

       22           Q.   And they send -- American Income Life sends

       23    leads to one state general agent based on where those

       24    leads are from, correct?

       25           A.   Yes, but you could have a person that, from


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        1    multiple sources, completes lead cards.                 In other words,

        2    we don't send the same lead card to multiple state

        3    general agents, but you could have one person that

        4    completed leads from different sources.

        5           Q.    How does -- wouldn't that be a different lead

        6    at that point?

        7           A.    Yeah, it would be a different lead.

        8           Q.    How does American Income Life get the leads?

        9                         MR. DAWSON:     Objection, asked and answered.

       10           A.    Well, I've told you about contacting the union.

       11    There can be multiple ways, so I'm just going to talk

       12    about union ways.

       13           Q.    (BY MS. RUSKIEWICZ)         Sure.

       14           A.    Because there could be different types of leads

       15    but for union lead, let's say that we have contacted

       16    union.      They agree to have their members contacted.

       17    There's usually a mailing that goes out.                Many times

       18    it's provided to the union and then the union sends it

       19    out.     And then there's lead cards, sometimes lead cards

       20    are in the mailing, sometimes it's in a publication, but

       21    the cards are sent back or electronically entered and

       22    that's how we get them.            And then electronically,

       23    they're sent to the state general agent and sold to the

       24    state general agent.

       25           Q.    What electronic base are they entered into, the


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        1    of companies as far as insurance sales.                 She could do

        2    any other work, it wouldn't matter, but as far as

        3    insurance sales, her agreement was that while she was

        4    contracted with the company, she would only sell with

        5    the Torchmark group of companies.

        6           Q.   Does American Income Life here determine who is

        7    hired and who is fired for agents?

        8           A.   No.      We get the setup kits from the state

        9    general agent who determines who he would wish to have

       10    within his hierarchy and as far as -- and normally the

       11    state general agent is the one who notifies us of any

       12    termination of contract.

       13           Q.   Okay.      I had asked you a question earlier about

       14    what factors go into determining promotions and I think

       15    one of the answers was it's a higher up executive

       16    decision.

       17                         So does American Income Life have to sign

       18    off on the contracts before the SGA can hire the agent?

       19                         MR. DAWSON:      Objection, misstates earlier

       20    testimony.

       21           A.   The state general agent submits the setup kits

       22    of the persons that he wants to have within his

       23    hierarchy.

       24           Q.   (BY MS. RUSKIEWICZ)           Okay.

       25           A.   Okay.      When -- and barring -- I don't know of


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        1           A.   But the commission is based on the premium --

        2           Q.   Okay.

        3           A.   -- that's being paid.

        4           Q.   Can the agent adjust the premium, such as a

        5    general agent?

        6           A.   Adjust the premium?

        7           Q.   Correct.

        8           A.   I thought that was what I just answered.

        9           Q.   You did.       My apologies.        When an agent makes a

       10    sale and they -- they use the E-App program, correct?

       11           A.   Uh-huh.

       12           Q.   Okay.      Does the E-App program time from opening

       13    to closure how much time that agent spent at a potential

       14    policyholder's home, for example?

       15           A.   I -- I don't know the answer to that.

       16           Q.   Who would --

       17           A.   I do know it puts a time stamp like when

       18    they're -- when they're at the bottom, you can actually

       19    see a time stamp on the application as to the time when

       20    it was signed and dated.

       21           Q.   Okay.      Who would have information about the

       22    time spent with each policyholder from the E-App?

       23           A.   You mean whether it times it?

       24           Q.   Right.

       25           A.   That would probably be Debbie Gamble.


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        1    that American Income Life offers?

        2           A.   I think there are suggested scripts, I -- I

        3    haven't seen them --

        4           Q.   Okay.

        5           A.   -- in a long time.

        6           Q.   Is there protocol for American Income Life to

        7    have agents answer a telephone?

        8           A.   I'm not sure I know what you mean.          Like when

        9    they're setting appointments.

       10           Q.   Sure.

       11           A.   I think there are some suggested phone scripts.

       12           Q.   And do you know when American Life first placed

       13    those suggested scripts out?

       14           A.   No, I don't.

       15           Q.   When a policyholder -- when an agent first goes

       16    to a potential policyholder's home, they have a laptop.

       17    They open a laptop and is there a presentation that the

       18    agent gives to that homeowner or to the person in the

       19    house?

       20           A.   There is software that has the applications on

       21    it, and it does -- it does walk them through the

       22    process, I think.

       23           Q.   Okay.

       24           A.   I have not seen those myself, so I can't

       25    elaborate much more than that.


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       1                          MS. RUSKIEWICZ:       Okay.        Tab 28 as

       2     Exhibit 16.

       3                          (Deposition Exhibit No. 16 marked.)

       4            Q.   (BY MS. RUSKIEWICZ)           Let's turn to page --

       5     Tab 29.     Have you seen this document before?

       6            A.   Nope.

       7                          MS. RUSKIEWICZ:       Tab 29 is Exhibit 17.

       8                          (Deposition Exhibit No. 17 marked.)

       9            Q.   (BY MS. RUSKIEWICZ)           Tab 30 -- and I'm sorry.

      10     Ms. Reese, what -- what type of agent positions have you

      11     held with American Income Life?                 Did you start as a

      12     production agent and work your way to the top?

      13            A.   I've never been an agent.              I started in 1974 in

      14     the claims department as mail clerk, and I've worked a

      15     lot of different departments.              I've worked in

      16     policyowner service.           I've worked -- for 17 years, I

      17     worked in the claims department.                I've been in agency

      18     administration since 2003.             I worked in the file room

      19     when we used to have all paper documents.                   I worked in

      20     IT for awhile over a small group balancing things, you

      21     know, what comes in, what comes out.                    Anyway, just a lot

      22     of different departments but I've never been an

      23     independent contractor agent.

      24            Q.   Thank you.       Tab 30, do you have knowledge of

      25     the POS phone script, POS labs on Page 1?


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       1            A.   I mean, these are scripts.              I don't know if

       2     you're asking me if these are scripts that we approved,

       3     I don't know the answer to that.

       4            Q.   According to the contract, these must be

       5     approved, correct, these scripts?

       6            A.   They're supposed to -- if they're going to use

       7     a specific script, they do -- we do like -- and they're

       8     going to name the company in the script --

       9            Q.   Then this --

      10            A.   If the company is named in the script, then

      11     they should send it in.

      12            Q.   If you turn to Line 1, you can see that the

      13     company is named in this script?

      14            A.   Uh-huh.      So this would be something that Rhonda

      15     could tell you.

      16            Q.   Okay.

      17            A.   If this was a script that had been looked at

      18     and reviewed.

      19            Q.   All right.       Page 2, we have a hard -- card

      20     phone script, and it, again, states American Income Life

      21     in that script.         So according to the contract, would

      22     this script also have to be approved by American Income

      23     Life?

      24            A.   Again, they do want to approve scripts if

      25     they're going to write scripts or documents that they


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       1     want the company to look at them to make sure there's

       2     nothing misrepresented, but I don't know if these are

       3     scripts that have been approved, so...

       4           Q.    And -- if we turn to Page 3 referral script for

       5     -- referral phone script --

       6           A.    That would be all the same.

       7           Q.    -- child safe referral phone script?

       8                          MS. RUSKIEWICZ:      Okay.         Tab 30, Exhibit 18.

       9                          (Deposition Exhibit No. 18 marked.)

      10           Q.    (BY MS. RUSKIEWICZ)          May we turn to Tab 31.          Do

      11     you have knowledge of this document, not specifically

      12     but just generally?

      13           A.    No.

      14           Q.    Okay.      And I'm -- it looks like there's a

      15     recruiting script behind that one.                If we can take out

      16     that recruiting script and put it under Tab 30 and may

      17     we give the reporter a moment to do that as well.

      18           A.    Now it still has something on the back.                 Do you

      19     know --

      20                          MR. DAWSON:     Do you have any single set

      21     prints?     It printed weird.

      22                          MS. RUSKIEWICZ:      Oh.

      23                          MR. DAWSON:     Hold on.      What number was it

      24     in the prior one?

      25                          MS. RUSKIEWICZ:      We got it.        We got the


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                                                                     Page 130
       1     given to the general accounting department for the

       2     actual payment of the bonus.

       3            Q.   Does American Income Life have mandatory

       4     meetings for agents such as webinars or training

       5     sessions?

       6            A.   There are no mandatory like meetings or

       7     anything.      They do -- they do ask them to complete the

       8     AML, the anti-money laundering training.

       9            Q.   Okay.

      10            A.   It's just a -- I think it's a link they can go

      11     to.    And also oral specimen, there's a video where --

      12     something they watch about -- collection of oral

      13     specimens, I think that's a link also --

      14            Q.   Okay.

      15            A.   -- they go to.

      16            Q.   Who is Richard Meshulam?

      17            A.   Richard Meshulam, he is an executive with our

      18     company and he deals primarily with retention.

      19            Q.   Okay.

      20            A.   I mean, you'll see his things related to

      21     reinstating and conservation of business.

      22            Q.   And he's a vice president of quality business?

      23            A.   That sounds right.

      24            Q.   Does he oversee the agents from SGA all the way

      25     down to production agents?


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       1            A.   Well, our contract is just with Richard Correa.

       2            Q.   (BY MS. RUSKIEWICZ)           Okay.     Does American

       3     Income Life offer health insurance benefits to agents?

       4            A.   No.

       5            Q.   What is GM -- if we turn two pages, yep.                In

       6     the top from -- kind of in the center to say

       7     GMBXAiros@AILife.com.           What is that e-mail from?

       8            A.   Well, what it's attached with is for record.

       9            Q.   And is it American Income Life forwarding to

      10     Richard Correa information that's requested of a

      11     policyholder?

      12            A.   Yeah.      It says "We have received a request for

      13     medical records from underwriting department, however in

      14     order to obtain medical records we need to attached

      15     authorization completed by the applicant."

      16            Q.   And then, for example, Correa then has the

      17     authority to forward that to any other agent or person

      18     to accomplish that, correct?

      19            A.   Well, it's just to get the authorization so

      20     they can get the records.

      21            Q.   Okay.

      22            A.   From -- and the policyholder would be the one

      23     who would have to sign it.

      24            Q.   So American Income Life needed the policyholder

      25     to sign an authorization for release of records


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       1     applicant -- that there is one and they need to get it

       2     resolved.

       3            Q.   Okay.

       4            A.   We wouldn't be able too find out from vector

       5     the nature of what they owed or who they owed it to.

       6            Q.   On tab -- excuse me, Bates stamp 13, is this

       7     the document in its entirety or is it chopped off or

       8     scanned up too high.           Is there something missing, like a

       9     header?

      10            A.   No, I think that's -- I think that's it.

      11            Q.   Okay.      Looks like Silvana Pajor-Flores had

      12     signed up for stock -- strike that.                 Strike that.

      13                          Does American Income Life offer

      14     reimbursement for health insurance to agents?

      15            A.   The agents can be eligible for additional

      16     commissions if they have health insurance.                   It's part of

      17     the collective bargaining agreement.                    It's detailed in

      18     that document what the requirements are.

      19            Q.   Would it still apply to an agent who opted not

      20     to be part of that union?

      21            A.   I -- I think it -- yeah, it's cross the board.

      22            Q.   And are agents offered stock options by

      23     American Income Life?

      24            A.   They aren't offered stock options.                They can

      25     purchase stock.


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       1            Q.   Okay.

       2            A.   But this same type of information is available

       3     on the agent's product -- production and persistency

       4     report.

       5            Q.   AP & P --

       6            A.   Yeah.

       7            Q.   -- on the E-App?

       8            A.   It's in -- well, no.           It's actually on that

       9     agent -- it's not -- well, you did have a tab for agent

      10     reports on there for the E-App when we were talking

      11     about the deal and said "agent reports."

      12            Q.   Yes.

      13            A.   When the agent was active, that's where they

      14     would get that.         And this type of information is

      15     available to them on the agent's progress and

      16     persistency report, which is part of the documents you

      17     were given today.

      18            Q.   Okay.

      19            A.   It's in the lower right-hand corner.

      20            Q.   And the -- is this like the report that

      21     American Income Life provides on a quarterly basis to

      22     the state general agent?

      23            A.   Actually, it's a monthly report.

      24            Q.   Okay.

      25            A.   On the AP & P not this.             I don't know what this


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       1     is.

       2            Q.    Okay.

       3            A.    Looks like it's taken from that, but it's

       4     monthly and the agent gets it and the agent gets their

       5     own, they can get it electronically while they're

       6     active.

       7            Q.    Okay.

       8            A.    And the state general agent also gets for the

       9     agents and for his own.

      10            Q.    Is the state general agent directed to meet

      11     with the agents progress report, the monthly report in

      12     order to talk about minimum requirements or other?

      13            A.    There's no requirement from us that they meet

      14     with them.       I don't know what he -- what the agents

      15     would do -- what the state general agents would do.

      16            Q.    Do these monthly reports affect agents if

      17     they're not making a good production or persistency

      18     percentage?

      19            A.    Well, if their retention rate falls low, it

      20     could mean that they get less advance.

      21            Q.    Okay.

      22            A.    Or that they don't earn a bonus.

      23            Q.    Okay.      What about production on the monthly

      24     reports, does it affect anything for the agent?

      25            A.    Well, obviously, if they don't have any


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       1     try to prepare for how many rooms we're going to need at

       2     convention, so we do some target -- you know, like if

       3     you see will qualify -- will qualify, those are things

       4     that -- this to me appears to be one where we were doing

       5     ahead of time trying to look to see how many rooms are

       6     we going to need who looks like they're going to be

       7     close, that's what this looks like to me.

       8                          MS. RUSKIEWICZ:       May we enter Tab 47 as

       9     Exhibit 34.

      10                          (Deposition Exhibit No. 34 marked.)

      11            Q.   (BY MS. RUSKIEWICZ)           Tab 48 here, we have a

      12     document, does this -- do you have knowledge of this

      13     document, not this one in particular but in general.

      14            A.   This looks like the company that does the stock

      15     purchase plan.

      16            Q.   Now, the company that does the stock purchase

      17     plan, they do -- do so on behalf of American Income

      18     Life, correct?

      19            A.   They're a vendor.

      20            Q.   Okay.      Now it says here in the title in the

      21     upper center employee stock purchase plan.              Equity Plan

      22     Solutions would only have authorization to present an

      23     agent what is authorized by American Income Life,

      24     correct?

      25                          MR. DAWSON:      Object to -- is that a


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